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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF NEW YORK


In re:                                                                         § Case No. 00-11-15686
         MARIA DOROTHY STROHBEHN                                               §
                                                                               §
                        Debtor(s)                                              §

         CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

Jeffrey L. Sapir, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

         1) The case was filed on 12/12/2011.

         2) The plan was confirmed on 10/25/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on NA.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
09/01/2015.

         5) The case was completed on 02/08/2017.

         6) Number of months from filing or conversion to last payment: 62.

         7) Number of months case was pending: 67.

         8) Total value of assets abandoned by court order:              NA.

         9) Total value of assets exempted:              NA.

         10) Amount of unsecured claims discharged without full payment:           $213,176.42.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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   Receipts:
         Total paid by or on behalf of the debtor            $     83,278.80
         Less amount refunded to debtor                      $          0.00
   NET RECEIPTS:                                                                                   $       83,278.80



   Expenses of Administration:

          Attorney's Fees Paid Through the Plan                                $             0.00
          Court Costs                                                          $             0.00
          Trustee Expenses & Compensation                                      $         4,496.61
          Other                                                                $             0.00

   TOTAL EXPENSES OF ADMINISTRATION:                                                      $       4,496.61

   Attorney fees paid and disclosed by debtor:               $            0.00



   Scheduled Creditors:

                                                                  Claim          Claim         Claim         Prin.     Int.
                    Creditor Name                  Class           Sched.     Asserted         Allowed        Paid     Pd.
UNITED STATES DEPARTMENT OF EDUCATION            Unsecured       125538.00   152064.46        152064.46     41056.33   0.00
NATIONAL COLLEGIATE TRUST                        Unsecured        79060.00    48787.28         48787.28     13172.22   0.00
American Express Centurion Bank                  Unsecured        12183.69    12183.69         12183.69      3289.51   0.00
WORLD FINANCIAL NETWORK NATIONAL BANK            Unsecured         1234.29     1234.29          1234.29       333.25   0.00
WORLD FINANCIAL NETWORK NATIONAL BANK            Unsecured         1344.99     1344.99          1344.99       363.14   0.00
OAK HARBOR CAPITAL, LLC                          Unsecured         6932.76     6932.76          6932.76      1871.80   0.00
DEPARTMENT OF EDUCATION                          Unsecured        68731.67    68967.20         68967.20     18620.66   0.00
WELLS FARGO BANK N.A.                            Unsecured             NA       505.01           505.01       136.35   0.00




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Summary of Disbursements to Creditors:

                                         Claim            Principal          Interest
                                         Allowed          Paid               Paid
Secured Payments:
      Mortgage Ongoing                   $         0.00   $           0.00   $          0.00
      Mortgage Arrearage                 $         0.00   $           0.00   $          0.00
      Debt Secured by Vehicle            $         0.00   $           0.00   $          0.00
      All Other Secured                  $         0.00   $           0.00   $          0.00
TOTAL SECURED:                           $         0.00   $           0.00   $          0.00

Priority Unsecured Payments:
       Domestic Support Arrearage        $         0.00   $           0.00   $          0.00
       Domestic Support Ongoing          $         0.00   $           0.00   $          0.00
       All Other Priority                $         0.00   $           0.00   $          0.00
TOTAL PRIORITY:                          $         0.00   $           0.00   $          0.00

GENERAL UNSECURED PAYMENTS: $ 292,019.68 $ 78,843.26 $                                  0.00




Disbursements:

      Expenses of Administration         $    4,496.61
      Disbursements to Creditors         $   78,843.26

TOTAL DISBURSEMENTS:                                                         $    83,339.87




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate
has been fully administered, the foregoing summary is true and complete, and all administrative matters
for which the trustee is responsible have been completed. The trustee requests a final decree be entered
that discharges the trustee and grants such other relief as may be just and proper.




Date: 07/15/2017                     By: /s/Jeffrey L. Sapir
                                       Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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